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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-11-165
                                                  §
                                                  §
DENNIS HANNAH JR.                                 §
NATHANIEL GORDON III                              §

                                             ORDER

       The court held a status conference on June 29, 2011. The government orally moved to have

this case designated complex. The motion is granted. Defendant Hannah orally moved for a

continuance of all deadlines. The government and the codefendant are unopposed. The court finds

that the interests of justice are served by granting this continuance and that those interests outweigh

the interests of the public and the defendants in a speedy trial. The motion for continuance is

GRANTED. The docket control order is amended as follows:

       Motions are to be filed by:                     September 6, 2011
       Responses are to be filed by:                   September 20 2011
       Interim Pretrial Conference is set for:         October 26, 2011, at 9:00 a.m.
       Pretrial conference is reset to:                December 2, 2011 at 9:00 a.m.
       Jury trial and selection are reset to:          December 5, 2011 at 9:00 a.m.


               SIGNED on July 5, 2011, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
